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16
                           UNITED STATES DISTRICT COURT
17
                        NORTHERN DISTRICT OF CALIFORNIA
18
19   ANTI POLICE-TERROR PROJECT,              )   Case No. 3:20-cv-03866-JCS
     COMMUNITY READY CORPS, AKIL              )
20   RILEY, IAN McDONNELL, NICO NADA,         )   DECLARATION OF ANDREW CHAN
     AZIZE NGO, and JENNIFER LI, on behalf    )   KIM IN SUPPORT OF TEMPORARY
21   of themselves and similarly situated     )   RESTRAINING ORDER
     individuals,                             )
22
                                              )
23               Plaintiffs,                  )
      vs.                                     )
24                                            )
     CITY OF OAKLAND, OPD Police Chief        )
25   SUSAN E. MANHEIMER, OPD Sergeant         )
26   PATRICK GONZALES, OPD Officer            )
     MAXWELL D’ORSO and OPD Officer           )
27   CASEY FOUGHT,                            )
28                                            )
                 Defendants.
                                              )



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     Declaration of Andrew Chan Kim - 1
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 1
           I, Andrew Chan Kim, hereby declare:
 2
           1.       I am an attorney licensed to practice in California and an associate at Siegel, Yee,
 3
 4   Brunner & Mehta, attorneys of record for plaintiffs in this matter.

 5         2.       The facts stated herein are of my own personal knowledge and if called and sworn
 6
     as a witness, I could and would completely testify thereto.
 7
           3.       I make this declaration in support of plaintiffs’ Application for a Temporary
8
     Restraining Order.
 9
10         4.       The following internet addresses are true and correct links to videos of the OPD

11   and local mutual aid departments using excessive force against peaceful protestors in Oakland,
12
     CA and I visited them last on June 17, 2020:
13
                 a. OPD and/or local mutual aid attacking the Black Lives Matter protest on May 29,
14
     2020, with flash grenades and tear gas: https://www.instagram.com/p/CA-
15
16   vJ5CnDhf/?igshid=1pk96uh6bg4vs.

17               b. Bystanders hit with tear gas thrown by police on May 29, 2020:
18   https://twitter.com/ShelleDione/status/1266630695205535745.
19               c. The OPD and/or local mutual aid attacking the peaceful crowd of demonstrators
20
     walking, on May 29, 2020, with flash grenades and tear gas:
21
     https://twitter.com/tacomaboii/status/1266586315845275648.
22
                 d. The OPD and/or local mutual aid attacking the crowd of protesters on May 29,
23
24   2020, with flash grenades and tear gas:

25   https://twitter.com/NationalistTV/status/1266612387832004610.
26
                 e. The OPD and/or local mutual aid attacking the crowd of protesters on May 29,
27
     2020, with flash grenades: https://twitter.com/JobinaFortson/status/1266602343170101249.
28
                 f. The OPD and/or local mutual aid shooting tear gas at the crowd of protesters on


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     Declaration of Andrew Chan Kim - 2
              Case 3:20-cv-03866-JCS Document 14 Filed 06/17/20 Page 3 of 7




 1   May 20, 2020, as the protesters are running away from the tear gas, some screaming, crying,
 2   hacking and coughing from the tear gas:
 3
     https://twitter.com/goodgalstine/status/1266589495341846529.
 4
               g. The OPD and/or mutual aid deploying tear gas and flash bang grenades at a large
 5
 6   crowd of peaceful protestors on May 29, 2020:

 7   https://twitter.com/SovernNation/status/1266592079947239432.
8              h. The OPD and/or mutual aid forcing a black couple to be fully prone on the
 9
     sidewalk on May 29, 2020 at 10:28 p.m.:
10
     https://twitter.com/shane_bauer/status/1266602435507716096.
11
12             i. The OPD and/or mutual aid throwing flash grenades and tear gas at peaceful

13   protesters on May 31, 2020, at 14th and Broadway:
14   https://twitter.com/streamed_hams/status/1267260852874260480.
15
               j. The OPD and/or mutual aid throwing tear gas into the crowd of protesters in
16
     downtown Oakland on May 29, 2020:
17
18   https://twitter.com/shane_bauer/status/1266601434222456832.

19             k. The OPD and/or mutual aid attacking protesters from the youth-led protest that
20   began at Oakland Technical High School Student, on June 1, 2020, with flash grenades and tear
21
     gas, before the curfew order went into effect:
22
     https://www.reddit.com/r/oakland/comments/gv0hox/so_obviously_it_didnt_go_well_abou
23
24   t_4_of_the_same/.

25             l. The OPD’s twitter account’s post on June 1, 2020:
26   https://mobile.twitter.com/oaklandpoliceca/status/1267669575551709187?s=09.
27
28



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     Declaration of Andrew Chan Kim - 3
                Case 3:20-cv-03866-JCS Document 14 Filed 06/17/20 Page 4 of 7




 1         5.       Attached hereto as Exhibit A is a true and correct copy of the email that attorneys
 2   with the National Lawyers Guild sent to police Chief Manheimer, Mayor Schaaf, and other City
 3
     of Oakland representatives on May 29, 2020.
 4
 5
 6         I declare under penalty of perjury that the foregoing is true and correct. Executed on

 7   June 17, 2020, at Belmont, California.
8
 9
10                                                           Signed: _Andrew Chan Kim______
                                                                      Andrew Chan Kim
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     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
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      Exhibit A
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